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                                   UNITED STATES DISTRICT COURT
                                    MIDDLE DISTRICT OF FLORIDA
                                          TAMPA DIVISION


 DONALD McTIGUE, Individually and
 on behalf of others similarly situated,

       Plaintiff,

 vs.                                                   CASE NO.:

 SCHMITT, INC.,
 a Florida Profit Corporation,

    Defendant.
 _______________________________________/

                                              COMPLAINT

          Plaintiff, DONALD McTIGUE, Individually and on behalf of others similarly situated, by

and through his undersigned counsel, and sues the Defendant, SCHMITT, INC., a Florida Profit

Corporation, and alleges as follows:

                                     JURISDICTION AND VENUE

          I.        Jurisdiction of this Court is invoked pursuant to the Fair Labor Standards Act of

1938, as amended, 29 U.S.C. § 201, et seq.

          2.        Venue lies within United States District Court for the Middle District of Florida,

Tampa Division because a substantial part of the events giving rise to this claim occurred in this

Judicial District and is therefore proper pursuant to 28 U.S.C. 139l(b).

                                                 PARTIES

          3.        Plaintiff, DONALD McTIGUE ("McTIGUE"), is a resident of Hernando County,

Florida at all times material and worked for Defendant in this Juridical District during the applicable

statute of limitations.
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          4.         Defendant, SCHMITT, INC., is a Florida Profit Corporation, authorized and doing

business in this Judicial District.

          5.          Defendant is an enterprise engaged in commerce as defined by 29 U.S.C. §

203(s)(l)(A).

          6.          Plaintiff was an employee of Defendant pursuant to 29 U.S.C. § 203(e)(l),

Defendant was Plaintiff's employer within the meaning of 29 U.S.C. § 203(d), and Defendant

employed Plaintiff within the meaning of 29 U.S.C. § 203(g).

                                        FACTUAL ALLEGATIONS

          7.          Plaintiff, DONALD McTIGUE, has been employed with Defendant from

approximately the summer of 2012 to present as an non-exempt HVAC Service Technician,

currently earning approximately $23.00 per hour.

          8.          As a Service Technician, Plaintiff worked in excess of 40 hours per work week for

which he was not compensated by Defendant at a rate of time and one half his regular hourly rate.

                                                COUNT I
                                 (Fair Labor Standard Act - Overtime)

          9.          Plaintiff realleges paragraphs one (1) through eight (8) as though set forth fully

herein.

          10.         The employment of Plaintiff provided for a forty (40) hour work week but

throughout his respective employment Plaintiff was required to work and did work a substantial

number of hours in excess of forty (40) hours per work week.

               11.    At all times material, Defendant failed to comply with 29 U.S.C. § 201 et seq., in

 that Plaintiff worked for Defendant in excess of the maximum hours provided by law, but no

 provision was made by Defendant to compensate Plaintiff at the rate of time and one-half his regular
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rate of pay for the hours worked over forty (40) in a work week.

           12.   Defendant's failure to pay Plaintiff the required overtime pay was intentional and

willful.

           13.   As a direct and legal consequence of Defendant's unlawful acts, Plaintiff has suffered

damages and has incurred, or will incur, costs and attorneys' fees in the prosecution of this matter.

           WHEREFORE, Plaintiff, DONALD McTIGUE, respectfully requests all legal and

equitable relief allowed by law including judgment against Defendant for overtime compensation,

liquidated damages, prejudgment interest; payment of reasonable attorneys' fees and costs incurred

in the prosecution of this claim and equitable relief declaring and mandating the cessation of

Defendant's unlawful pay policy and such other relief as the court may deem just and proper.

                                           COUNT II
                          (Fair Labor Standards Act - Collective Action)

           14.   Plaintiff realleges paragraphs one (1) through eight (8) as though set forth fully

herein.

           15.   The claim for violation of the FLSA is brought pursuant to 19 U.S.C.§ 216(b) for all

claims asserted by Plaintiff, on behalf of himself and all others similarly situated, because Plaintiff's

claims are similar to the claims of the members of the prospective class.

           16.   At all times material, Defendant failed to comply with 29 U.S.C. § 201 et seq., in

that individuals similarly situated to Plaintiff worked for Defendant in excess of the maximum hours

provided by law, but no provision was made by Defendant to compensate such individuals

at the rate of time and one-half their regular rate of pay for the hours worked over forty (40) in a

work week.

           17.   Plaintiff, and all other similarly situated, allege violations of the FLSA on behalf of

all persons who were, are, or will be employed by Defendant nationwide in the Service Technician
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or similar position during the applicable statute of limitations, who have not been compensated at

one and a half times their regular rate of pay for all work performed in excess of forty (40) hours

per work week, and for Defendant's failure to maintain and preserve payroll records or other records,

containing, without limitation, the total hours worked by each class member each workday and total

hours worked by each class member each work week.

       18.     Treatment of this case as a collective action is proper because all employees

employed in the Service Technician or similar position were subject to the same improper time

keeping requirements and policies alleged herein.

       19.     Plaintiff and the class he seeks to represent are similarly situated, were subject to

substantially similar time-keeping requirements and pay provisions, utilized the same time­ keeping

system, were required or encouraged to misrepresent, manipulate, or otherwise underreport the

number of actual hours worked (i.e., performing work off-the-clock in which Defendant knew or

should have known), and were subject to Defendant's common practice, policy or plan of failing to

keep accurate records and failing to pay overtime in violation of the FLSA.

       20.     The names and addresses of the putative class members are available from

Defendant for the purpose of providing notice to prospective class members in a form and manner

to be approved by the Court.

       21.     Defendant’s failure to pay such similarly situated individuals the required overtime

pay was intentional and willful.

       22.     As a direct and legal consequence of Defendant’s unlawful acts, individuals

similarly situated to Plaintiff have suffered damages and have incurred, or will incur, costs and

attorneys’ fees in the prosecution of this matter.
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       WHEREFORE, Plaintiff, Donald McTigue, on behalf of himself and all others similarly

situated, respectfully requests all legal and equitable relief allowed by law including designation of

this action as a collective action on behalf of Plaintiff and all others similarly situated, judgment

against Defendant for overtime compensation, liquidated damages, and prosecution of this claim

and equitable relief declaring and mandating the cessation of Defendant's unlawful pay policy, a

judicial determination that the FLSA was violated, an adjudication on the merits of the case, and

such other relief as the court may deem just and proper.

                                  DEMAND FOR JURY TRIAL

        23.    Plaintiff requests a jury trial on all issues so triable.

Dated this 11th day of November 2019.


                                                FLORIN, GRAY, BOUZAS, OWENS, LLC

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